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UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF NEW YORK
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JAMES KISTNER,

                           Plaintiff,
      v.                                                      18-cv-402-LJV-JJM

CITY OF BUFFALO, BYRON LOCKWOOD,
DANIEL DERENDA, LAUREN MCDERMOTT,
JENNY VELEZ, KARL SCHULTZ,
KYLE MORIARITY, JOHN DOE(S),
DAVID T. SANTANA and ANTHONY
MCHUGH,

                     Defendants.
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    REPLY RE: OBJECTIONS TO REPORTS AND RECOMMENDATIONS

             Defendants respectfully submit this memorandum in reply to plaintiff’s

response [138] to defendants’ objections [133] to two of the reports and

recommendations issued by Judge McCarthy [108; 119].

                                           I.

             The defendants agree that plaintiff’s state law claims for false arrest

and false imprisonment are the same. Plaintiff’s notice of claim also alleges battery.

Therefore, defendants agree to withdraw their argument that these claims should be

dismissed on the ground that they were not mentioned in plaintiff’s notice of claim.

                                          II.

             Plaintiff argues that his Monell survives summary judgment.

Regardless of the particular theory upon which a Monell claim is based, the causal

link between the municipal policy and the constitutional violation must be satisfied

by more than a remote connection, since a tenuous connection would eviscerate


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Monell’s distinction between vicarious liability and liability predicated on the

municipality’s own constitutional harms.

              Plaintiff’s Monell claim is based on Lockwood’s review of his IAD case

(108 pp. 29-30). Courts have imposed Monell liability based on a single action by a

municipal official who possesses final policymaking authority. However, the single

act theory of Monell liability requires strict adherence “to rigorous requirements of

culpability and causation” because, again, where a court fails to do so, “municipal

liability collapses into respondeat superior liability.” Bd. of Cnty. Comm'rs of Bryan

Cnty., Okl. v. Brown, 520 U.S. 397, 415 (1997) (it is not enough for plaintiff to merely

identify conduct attributable to the municipality; he “must also demonstrate that,

through its deliberate conduct, the municipality was the ‘moving force’ behind the

injury alleged”) (Id. at 404) (emphasis in original).

              For example, in Brown, the plaintiff alleged that a deputy used

excessive force in arresting her. The Supreme Court recognized that Congress did

not intend municipalities to be held liable under §1983 unless action attributable to

the municipality “directly caused a deprivation of federal rights.” Id. The court held

that the county was not liable for the sheriff’s department policymaker’s isolated

decision to hire the deputy without adequate screening because there was no link

between the hiring decision and plaintiff’s injury. Id. at 413. Specifically, the

plaintiff did not show that the deputy’s use of excessive force “would be a plainly

obvious consequence” of the hiring decision. Id. at 412.

              The causation evidence in this case is on much weaker footing since the

plaintiff in Brown relied on a policymaker’s decision that was made before the



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incident in question, whereas plaintiff here relies on a post-incident investigation,

which by definition can have no causal link to the alleged constitutional violations of

the individual officers. Alleged wrongful conduct after an injury cannot be the cause

of the same injury. In an attempt to get around this causation problem, plaintiff

seems to argue that Lockwood’s post-event, single course of action may shed some

light on the policies that existed in the City on the date of the injury. But plaintiff’s

argument rests on an incorrect premise because there is no evidence of a pattern of

undisciplined police misconduct under former BPD Commissioner Derenda, from

which it may be inferred that Lockwood acquiesced in the continuation of any policy

under Derenda that tolerated or ratified constitutionally offensive acts.

              To be sure, a municipal policy “cannot be inferred from the failure of

those in charge to discipline a single police officer for a single incident of illegality;

instead, there must be more evidence of supervisory indifference, such as

acquiescence in a prior pattern of conduct.” Lucite v. Cnty. of Suffolk, 980 F.3d 284,

306 (2d Cir. 2020) (emphasis added); accord Ricciuti v. N.Y.C. Transit Auth., 941

F.2d 119, 123 (2d Cir. 1991) (an inference that a municipal policy existed may be

drawn from evidence “that the municipality had notice of but repeatedly failed to

make any meaningful investigation into [excessive force charges]” (emphasis added);

Batista v. Rodriguez, 702 F.2d 393, 397 (2d Cir. 1983) (“municipal inaction such as

the persistent failure to discipline subordinates who violate civil rights could give

rise to an inference of an unlawful municipal policy of ratification of unconstitutional

conduct within the meaning of Monell”) (emphasis added). Additionally, the

reoccurring deficiencies in the administration of a municipal program must “reflect



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a purposeful rather than negligent course of action.” Reynolds v. Giuliani, 506 F.3d

183, 193 (2d Cir. 2007).

              Thus, not only is it difficult for Monell liability to spring from a single

decision of a municipal policymaker generally, but the aforementioned cases make

clear that a Monell claim predicated on a “failure to discipline” theory can never be

based on a single incident of officer misbehavior. This theory requires evidence that

the municipality had notice of widespread police misconduct but repeatedly and

purposely failed to make any meaningful investigation into the charges. Such

evidence is wholly lacking here.

              The fact that plaintiff identifies a prior lawsuit and IAD complaints

filed against one of the defendant officers does not support plaintiff’s Monell claim.

First, municipal liability depends on a “policy” as the moving force behind a

constitutional violation, rather than on “factors peculiar to the officer involved in a

particular incident.” Brown, 520 U.S. at 408. It is also true of course that “[p]eople

may file a complaint for many reasons, or for no reason at all[,] and [t]hat they filed

complaints does not indicate that the policies [alleged to exist] do in fact exist and

did contribute to [the] injury.” Strauss v. City of Chicago, 760 F.2d 765, 769 (7th Cir.

1985). Here, plaintiff does not explain how these other complaints are related to his

incident, or how many of these other instances of alleged misconduct actually

involved misconduct. The other lawsuit and complaints referenced by plaintiff—none

of which resulted in findings or admissions of culpability, or even involved

comparable conduct to that alleged here—are plainly insufficient to support a

municipal liability claim.



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              Plaintiff’s evidence falls far short of showing a direct causal connection

between municipal conduct and the alleged deprivation of his civil rights.

                                           III.

              Defendants’ argument in their objections that the court should look at

the validity of the arrest and not the validity of the cited offense is not new [69-1 p.

19] [99 p. 6] but an expansion upon it. In response to whether his arrest was valid on

fourth degree criminal mischief, plaintiff cites his expert’s opinion that Schultz is not

credible. However, the plaintiff cannot defeat summary judgment by simply

attacking Schultz’ credibility and saying that the jury might not believe him. See

McCullough v. Wyandanch Union Free Sch. Dist., 187 F.3d 272, 280 (2d Cir. 1999).

To defeat summary judgment, the non-moving party must present evidence from

which a reasonable jury could return a verdict in its favor.

              Assuming arguendo that plaintiff’s expert’s testimony is admissible

and could be believed by a jury—despite numerous questions raised concerning the

reliability of the expert’s analysis (83 pp. 3-4)—the expert does not conclude that

McDermott or Moriarty did not observe what they described, i.e., that plaintiff threw

himself into the police vehicle (68-4 pp. 34-35) (108 p. 3). And even giving plaintiff

the benefit of every favorable inference, his expert’s opinion is immaterial and should

not preclude summary judgment because it is inappropriate to judge the officers’

observations at the scene on the basis of 20/20 hindsight. That is, this court should

not “second guess [plaintiff’s] arrest” (Boyd v. City of New York, 336 F.3d 72, 76 (2d

Cir. 2003)) or “[the officers’] assessment, made on the scene . . . [w]ith the benefit of

hindsight and calm deliberation.” Ryburn v. Huff, 565 U.S. 469, 477 (2012).



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              Additionally, with regard to the damage to the mirror, the video does

not show one way or the other whether the vehicle was damaged, the “maintenance”

record for the vehicle does not create a genuine dispute as to whether the vehicle was

damaged or repaired, and the cellphone photograph taken by McDermott of her

police vehicle on the scene could only indicate that the vehicle’s mirror was in fact

damaged (74-2 p. 251 lines 14-18). The photograph could not be produced because it

was lost when McDermott got a new phone (Id. p. 248). The officers had at least

arguable probable cause to arrest plaintiff for criminal mischief.

                                          IV.

              Because the probable cause that existed at the time of plaintiff’s arrest

for criminal mischief did not dissipate, probable cause to prosecute also existed. See

Biton v. City of New York, 2022 WL 1448207, *1 (2d Cir. 2022) (“Probable cause that

arises at the time of an individual’s arrest continues to support her prosecution

unless it dissipates because the police discover new information showing the

groundless nature of the charge”) (internal quotation marks omitted). Plaintiff

argues that the officers should have made further inquiry because they were aware

that the incident was recorded on plaintiff’s surveillance cameras. However, it

cannot be said that a reasonable police officer would have viewed the video of an

incident that he witnessed with his own eyes (75-1 CM/ECF pp. 19-20).

                                        V., VI.

              The defendants have nothing to add to their prior arguments and

submissions with regard to plaintiff’s claims for battery and failure to intervene.




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            For these reasons, and the reasons previously set forth, the court

should grant summary judgment in favor of the defendants.

Dated: Buffalo, New York
       August 3, 2022
                                       Respectfully submitted,

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